            Case 8:16-cv-00860-DKC Document 22 Filed 04/25/16 Page 1 of 2


                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND



Scottsdale Capital Advisors Corp., et al.
   Plaintiffs,

                   v.                                             Case No. 8:16-cv-00860-DKC


Financial Industry Regulatory Authority, Inc.
   Defendant.




                                     ENTRY OF APPEARANCE



TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:


          Please enter my appearance as counsel in this case for:

Amicus Securities and Exchange Commission

          I certify that I am admitted to practice in this court as a government attorney for this case

only.

4/25/16
Date                                                    Signature ofCounsel

                                                        Josephine Morse                      804974
                                                        Print Name                        Bar Number


                                                        U.S. Securities & Exchange Commission
                                                        Firm Name


                                                        100 F.St.. NE
                                                        Address


                                                        Washington. D.C. 20549
                                                        City/State/Zip

                                                        202 551 5006
                                                        Phone No.


                                                        morsci(rt),sec. gov
                                                        Email Address
         Case 8:16-cv-00860-DKC Document 22 Filed 04/25/16 Page 2 of 2


                                CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2016,1 electronically filed the foregoing with the Clerk

of the Court for the United States District Court for the District of Maryland by using the

CM/ECF system. Service on plaintiffs and FINRA was accomplished on the same date through

the CM/ECF system.




                                                     /s/Josephine Morse
                                                     Securities and Exchange Commission
                                                     100 F Street, N.E.
                                                     Washington, D.C. 20549
